Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 1 of
                                       49




       23-CR-80219-AMC




          GX 155
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 2 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 3 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 4 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 5 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 6 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 7 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 8 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 9 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 10 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 11 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 12 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 13 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 14 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 15 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 16 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 17 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 18 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 19 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 20 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 21 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 22 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 23 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 24 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 25 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 26 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 27 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 28 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 29 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 30 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 31 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 32 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 33 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 34 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 35 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 36 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 37 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 38 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 39 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 40 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 41 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 42 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 43 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 44 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 45 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 46 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 47 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 48 of
                                       49
Case 9:23-cr-80219-AMC Document 173-12 Entered on FLSD Docket 05/22/2025 Page 49 of
                                       49
